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12/6/2020


RE; Ronald JOHNSON

TO: HONORABLE Judge RAYMOND A JACKSON

SUBJECT: SHOW CAUSE LETTER AGAINST COOKOUT CHESAPEAKE INC

This is in reference to the incident that happen on August 25, 2018 around closing time.

My employer had received documentation from my MD Lacia R. Chapman on JULY 24, 2018
concerning allergic reaction towards the chemicals in the dish room which caused a 911 emergency call
to be made by my store manager Chris, July 7, 2018 approximately 9:28:43 pm,for me to be rushed to
Chesapeake Regional Medical Center because I could not breath an began to have a rash on my arms
which cause my skin to bum, and me to be sweating a lot with chest pains.
On 25^^ of August I Ronald Johnson was working on the grill around 3 a.m. closing time when I
decided to pre-close the queso area while everyone was standing around in the front talking to manager
Kieth Harvard when I was approached by team leader Danica Green telling me Mr. Harvard said"I
had to wash dishes after closing time which I told her that I could not wash them, because of my
doctors orders in which store manager Chris an assistant manager Davontae Thcker knows about in
which they made copies an put it in my file . This is when Miss Green went back to the front to discuss
with Mr. Harvard what I had said concerning me washing the dishes so that is when Mr. Harvard came
from the front with Miss Green and the other workers to tell me to wash the dishes again in which I
replied to Mr. Harvard that I have doctors' orders that 1 cannot wash the dishes ,because I am allergic
to the chemicals or soap in the dish room an that's when Miss. Green walk to the back file cabinet to
puU my personal file in which I told Mr. Harvard that Miss Green as a team leader has no right to go in
my file under the privacy act, because it violates my privacy and it is against company mles . That is
when Miss Green walked from the back after looking in my files to tell Mr. Harvard that the doctor
orders was not in my file so I must be lying in which I told her that she had no right again to go through
my file so that is when Mr. Harvard said"I know how to catch someone in a lie by telling me in front
of everyone so when you use the bathroom to wipe your ass you must not use soap to wash your hands
and that is when I said" I bring soap from home, but why did you allow her to go through my file in
which his reply was I really don't care about that so go to the back an wash the dishes or your
suspended for the next two shifts I work an you can go home now .I replied I can clean other areas in
the kitchen in which I had already started to when you'll was in the front talking an Mr. Harvard
replied,'That everyone know your slow, because Chris told us that." I replied again that I cannot wash
the dishes an assistant manager Davontae made the copies again an put them in my file so I don't know
what happen to them but I cannot wash them and that is when Mr. Harvard replied"with your dumb
ass you loiow I don't like no one talking back to me" which was truly embarrassing to me especially in
front of the workers because all the managers were aware that I have a learning disability when they
hired me. Mr. Harvard got very aggravated when I refused to go in the dish room and Mr. Harvard
repeated that I would effectively be suspended on the two days out of the three days I was scheduled to
work on Mr. Harvard shifts . I gave in eventually after being threaten consistently of being suspended
by Mr. Harvard with a warning to both parties involved that it would make me sick in which you'll
would be responsible for disregarding my doctors'orders by forcing me to wash the dishes under the
threat of being suspended. I ended up washing all the dishes as Mr. Harvard would consistently call me
a dumbass an harass me in front of the workers by teUing me that I know he doesn't like anyone talking
back to him under his shift so I ignored him as I was finishing the dish room area until I was able to
clock out to go home. 1 ended up having to wait with the other workers in the lobby until Mr. Harvard
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was finishing his paperwork but during the time of waiting in the lobby Miss Green kept talking about
the situation to other workers in which it bothered me to the point that I responded you'll are going to
deal with my doctors'bills, because I feel sick so that is when Miss Green went to the back to tell Mr.
Harvard what I had said concerning what happen under their supervision that's when Mr. Harvard &
Miss Danica came to the lobby an stated it's our word against yours an no one would believe your
dumbass as we proceeded to leave Cook Out. On August 25, 20018 that morning driving home
already feeling sick I began wheezing an noticing a rash that was on my arms that was very irritating,
but by than 1 made it home an took some Benadiyl to try to counter act what was going on until I was
able to call my on call doctor later that morning . I was able to contact Miss Kashmal Patel who advise
me to apply my steroid cream given to me by PGP from the last episode which was in July. Dr. Patel
also wanted to speak with my manager(who was Dontae at the time 1 came in) because she was taking
me off work until I saw my primary care doctor so I went back to COOK OUT so she can speak to my
manger on the phone. In which Dontae called Mr. Gerard to let him know what happened that day and
they said for me to follow doctors request but to bring in doctors note so I made an appointment with
my doctor on the 27*^ of August. On August the 27^ after seeing my PCP Lacia Chapman concerning
the incident on the 25^ of August 1 was then advised to take off work with doctor orders and to give
them the second note that stated I couldn't be around the dish area without protective covering or the
change of chemicals that are being used in the dish area. On August 27, 2018 I came to Cook Out with
doctors note again an gave it to Chris my store manager to make a copy of it so all the managers would
understand the importance of my allergic reaction that would occur if I go in dish area again in which
store manager Chris made a copy an put it in my file for all the manager to see. On August 27 after
giving Chris the notes I requested to have a meeting concerning the incident that happen on the August
25 in which he told me that right now was not a good time to discuss the situation, but to come back on
August 28 at 5 p.m. so we can discuss what happen. On August 281 made it to Cook Out at 5 p.m to
discuss what happen on August 25 with my store manager Chris but He was unable to talk until about 6
p.HL in which I sat in the lobby quietly waiting for Mr. Chris until one of the workers ask was 1 ok,
because the last time they saw me was the night I was rushed to the hospital so I told him my doctor is
helping me. Chris finally was able to come discuss the situation concerning the incident that happen on
August 25 in which I ask did he want to sit in the lobby but he said no lets go in the kitchen to discuss
this matter. When we went to the kitchen I decided to stand by the door leading to the lobby in front of
the prep tables and Chris walked on the other side of the table where the cameras were in the kitchen
and Mr. Harvard was sitting at the managers desk counting the drawers from the cash register in which
I never said" anything to Mr. Harvard, because My focus was discussing the problem with my store
manager Chris so it would not be any conflict with Mr. Harvard. When my store manager Chris ask me
what happen I began to tell him we need to have a meeting with Danica, Mr. Harvard an all parties
who was involved on the night 1 worked on August 25,2018, because They disregard my doctors'
orders , and Violated the HIPAA rights law when Mr. Harvard allowed team leader Danica to go in my
file without my permission or The store managers permission, because 1 was not taking any test for
promotion at this time an all medical files under cookout rules are personal only for managers to see
not team leaders .As 1 was talking to Chris explaining what happen Mr. Harvard told me to keep his
dam name out my mouth with your dumb ass and I responded that I was talking to Chris, but That is
when Mr. Harvard proceeded to take off his Batman hat an walk towards me cursing an tried to fight
me with store manager Chris just standing there looking in front of the camera(which will show Mr.
Harvard leaving the desk walking towards me)and That is when a worker by the name of A.J step in
the middle to stop Mr. Harvard from jumping in my face to fight me,but A.J arm was grabbed by store
manager Chris to push him out the way when A.J replied why are you letting Mr. Harvard try to fight
him for no reason, but Chris never said an3rthing or DO anything to try to prevent Mr. Harvard from
getting in my face. I told Mr. Harvard I am not fighting him, because 1 know law an all you're doing is
acting out in front of everyone cause you know I'm telling the truth an you'll was wrong . Chris my
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store manager who saw everything began to get mad at me for what reason I don't know because I
never approached Mr. Harvard in any manner that would result in this type of response. I walked out
the door upset that nothing was done and told Chris that Mr. Harvard supposed to be a manager that is
when Chris wanted to stop the meeting, but I told him I would sit in the lobby quietly to Mr. Harvard
leaves to continue our meeting which in terms Mr. Harvard left the store driving around the parking lot
twice, but I would not come out, because I was not there to fight anyone. 1 sat quietly in the lobby in
which Ihcbcbcc decided to record the meeting to protect myself after what had just happen concerning
Mr. Harvard when Chris came fi*om the back to continue our meeting in which I explain to Chris what
happen on August 25, 2018 and What happen a little while ago, but Chris response was what do I want
him to do with Mr. Harvard when Mr. Girard hired him not me because I didn't want him back and
That is when I said" your my store manager an you just saw Mr. Harvard try to fight me in which Mr.
Harvard called me a dumb ass still and Also told me your suspended on my shift right in front of you
but Chris never did anything but said" Mr. Harvard is Girard problem, but If he doesn't do anything I
can tell you how to handle it another way an that's when he gave me district manager Mr. Girard
phone number to call to discuss this matter concerning everything, but When I ask him again what was
he going to do Mr. Chris began to get agitated so I decided to end the meeting.On August29'^ I called
Mr. Girard to set up a meeting on this matter when he stated to come in on September1, 2018 to discuss
what happen in the meeting with you and Chris and What happen on August25, 2018 at any time after
2p.m in which I would be there all day. On Septemberl, 2018 Mr. Girard sat down with me to have the
meeting in which I recorded to protect myself after hearing it's there word against mine from other
workers as well. After discussing the matter with Mr. Girard he ask me why didn't Chris just some soap
from the store or get some longer gloves like your doctor suggested, and Why didn't he send Mr.
Harvard home after what had happen, because He has many other things to deal with running other
stores, and This is what Mr. Chris gets paid for to deal with this type of situation. In our meeting Mr.
Girard said that I would not have to work with Mr. Harvard again, because he would be moving him to
another store in Portsmouth or Suffolk as a last result, because this has happen before so this is his last
chance, and I would not have to work with Danica anymore, because He told Chris to put me on day
shift before aU this happen so I would not be working nights anymore with Danica, but That's when I
ask Mr. Girard about my pay for the days I miss from work concerning what happen on August2S, 2018
and Mr. Girard stated that I would get paid but later tried to offer me a fifty dollar bonus to resolve the
matter in which I disagreed, because It wouldn't cover my medical bills that was accumulated over my
time off work and the bums I received on my arms firom the allergic reaction to the chemicals in the
dish room. That is when Mr. Girard said" he would talk to the owners to resolve this matter before I
come back to work on September 3 in which later I found that to be a lie as well, because No one did
anything to resolve this matter in a responsible matter. I made several attempts to resolve this matter
with every manager as well as ask for the owner to be involved but my attempts went on deaf ears , and
That's when the harassment began all over again far as when I came to get food it would deliberately
be burned, or it wouldn't get fixed in a timely matter as they would say they forgot so I wouldn't let it
bother me until September the 3'^'^ when I came back to work I was scheduled to work nothing but
nights in which Mr. Girard guaranteed I would be on dayshift for now on to resolve the issue, but even
that night I was not working with Danica or Mr. Harvard who was a major problem still so I enjoyed
the night until later I ordered my food and it was bumed to the point that manager Davante had to get
on the workers for keep messing up my food in which I will say" He was upset at them an talk to them
later an said that if it keep happening to my food he will wright someone up and they will be let go in
which I was very hurt, because I almost died and They G like it was my fault being allergic to the
chemicals. On September 4^ I had to work that night when I saw Danica in Cookout so I decided to
wait outside until she left but as she walked out the door she said 'something to me smart and laughed
in my face so 1 ignored her so it would not be any conflict between us that would later escalate to
something out of control. It was time for me to clock in for work in which I thought Danica was gone
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for the day, because Mr. Girard said" in our meeting that I would be working days and I would not be
working with neither parties after the incident that accrued on August25th, but I still tried to work my
shift that night until as I was going to clock in when Miss. Danica came behind me and said something
again so that's when I decided to talk my manager Mr. Tucker about what just happen and Mr. Tucker
ask Miss. Danica why is she being messy an she walked off laughing in which that made me feel like
no one was going to do anything to protect my wellbeing . I ask Mr. Tucker why was I schedule to
work nights when district manager Mr. Girard made it clear 1 would be working mornings instead of
working nights and I would not be working with Miss. Danica or Mr. Harvard on any shift, but That's
when Mr. Tucker told me 1 was on the schedule to work nights with the parties who was involved in the
incident that cause me to have burns on my arms from the allergic reaction. Miss days of work,
constant harassment from workers who was friends with both parties in which was playing with my
food that has to go in my body during the time I was just getting over beating cancer in which all the
managers knew about it, and 1 felt no one was Ustening to me on this matter so I felt compelled to
leave because of the continued harassment in which 1 informed Mr. Tucker and The acting manager the
reasons why I was leaving that night because it was becoming a hostel work place in which Mr. Tucker
said"I understand an make sure I come to talk with Mr. Girard in the morning to see what happen
instead of quitting, because 1 am not working tonight to stop the mess . I took Mr. Tucker advice and
came to talk with Mr. Girard the next day about my pay, why was I not on mornings like he said" I
would be, and Who is going to pay for my medical bills in a respectful manner and Mr. Girard with Mr.
Harvard on the side of him started laughing an Mr. Girard said "Chris is my store manager let him deal
with it so after that response I ask for my check in which we was paid that day an left with tears in my
eyes behind this matter of carelessness of my health or the hostile work environment that was created
by their manager and worker in which who they chose to protect under all cost. I Ronald Johnson am
asking for this hearing under Virginia federal law that prohibits harassment in form of employment
discrimination that violates Title Vll of the Civil Rights Act of 1964, the age discrimination in
Employment Act of 1967,(ADEA), and the Americans with Disabilities Act of 1990,(ADA).
Harassment becomes unlawful where 1) enduring offensive conduct becomes a condition of continued
employment, or 2)the conduct is severe or pervasive enough to create a work environment that a
reasonable person would consider far as intimidating, hostile, or abusive. Anti-discrimination law also
prohibit harassment against individuals in retaUation for filling a discrimination charge in which Mr.
Tucker did when he refused to answer any of the EEOC calls after giving his number to be a witness
after talking with him several times as one of the managers involved in the August 25, 2018 incident in
which they promoted him as an assistant store manager in Portsmouth CookOut not to comply with the
EEOC.
Exhibit A wiU prove not only Mr. Tucker knew about the 911 call that happen on July 7, 2018 that
caused me to be rushed to the hospital. He knew about the continua's harassment because he was one
of the managers I talk to an the recording I have submitted to the courts is proven evidence that Mr.
Tucker admits he talk to Mr. Girard on the day my on caU doctor took me off work on August 25^^,
Exhibit B Is the original transcript of the 911 call that was place by store manager Chris the night of
August 25, 2018 in which Mr. Tucker was working and I a recording in which store manager Chris is
on the original recording of the 911 call,
Exhibit C Is copies of Dr. Lacia R. Chapman written orders advising the managers I have an allergic
reaction to the chemicals in the dish room that was dated July 24, 2018 in which Mr. Tucker made
copies in front of me to give to store manager Chris who was next to him to put in my file in which he
did.
Exhibit D Is an original copy from the call that was made on August 25^ to my on call PCP Kashimal
Patel MD advising that I Ronald Johnson is having a recurrent rash /aUergic reaction from chemicals in
dish room which was given to Chris on the day we had the meeting concerning the incident on August
25^^ which he made a copy an put it in my file 1 assumed.
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Exhibit E is a copy of Dr. Chapman second note to all the managers advising them that I am allergic to
a chemical in the dish soap an advising them to get me some protective gloves, change the soap, or
avoid further exposure to the chemicals in the dish room in which I gave it to Mr. Tucker and I later
gave another copy to Mr. Girard on the day we had the meeting so this proves all the manager was
aware of ray health condition.
Exhibit F is the respondent Cook Out Chesapeake Inc. letter that they wrote to the EEOC that proves
they knew about all my medical conditions in which they tried to get thrown out but If you read their
own statement they claim it was never any documentation of my doctors notes, I left 45 minutes early
which isn't true, because 1 closed on August 25^^ but later Mr. Harvard claims I refused to leave work.
This letter that the responded wrote contradicts that they never knew anything because Mr. Girard later
came back and said in his own statement that he spoke to me an promise that they will make
accommodations to resolve the problem but that never happen instead they tried to get it thrown out by
EEOC and later stated I admitted I to him I lied an made it up . This is an insult to me because they are
making it seem like Tm a dumbass that Mr. Harvard called me over and over again to protect them.
Exhibit G Is print out showing my car was reposed because of the harassment that cause me to lose my
job and It shows I would not have wanted to work, because I had important obligations to take care of
beside paying my bill and dealing with fighting cancer in my recovery stage.
Exhibit H copies of medical bills that my insurance Humana had to pay on my behalf as I was being
treated for the burns on my arms from the chemicals that were used in Cook Out dish room.
Exhibit 1 Is a copied recording of the meeting I Ronald Johnson had with Mr. Girard himself that
proves that he knew about everything that was going on at Cook Out an decided to turn blind eyed to
the situation in which the promises that was made was not met far as paying my medical bills. Days I
missed work, stopping the harassment, pain and suffering that me and my family had to endure
wondering how we would pay our bill, repossession of a car I purchase by working hard that is still on
my credit and Most of all the embarrassment of having a learning disability an managers knowing but
call you a dumbass because you're not as intelligent as them or Letting your workers go in personal
files that shows private business.




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